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               BROWARD AIRPORT TAXI, LLC




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               2106 N. DIXIE HIGHWAY



               HOLLYWOOD             FL      33020




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BROWARD AIRPORT TAXI, LLC




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BROWARD AIRPORT TAXI, LLC



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BROWARD AIRPORT TAXI, LLC

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                             05 02 2018

                   /s/ AUGUSTE J. SAINT-VIL               AUGUSTE J. SAINT-VIL


                       DIRECTOR




                   /s/ Alix J. Montes                             05 02 2018



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